     Case 1:15-cv-00162-CKK Document 84 Filed 12/15/17 Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


BRIAN WRENN, et al.,
       Plaintiffs,
        v.                                       Civil Action No. 15-162 (CKK)
DISTRICT OF COLUMBIA, et al.,
        Defendants.


                                     ORDER
                                (December 15, 2017)

       In light of the parties’ [83] Stipulation of Voluntary Dismissal with Prejudice
pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is, this 15th day of
December, 2017, hereby

       ORDERED that this case is DISMISSED.

       SO ORDERED.

                                                       /s/
                                                  COLLEEN KOLLAR-KOTELLY
                                                  United States District Judge
